                                                                                027,21*5$17('
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                                                                                'HFHPEHU
                       IN THE UNITED STATES DISTRICT COURT                      
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
vs.                                           )       Case No.       3:12-00137
                                              )                      Judge Sharp
MELISSA DEMPSEY                               )

                           MOTION TO EXTEND REPORT DATE

       Comes now, G. Kerry Haymaker, counsel for Defendant, Melissa Dempsey, and hereby

moves this Honorable Court to extend the date to report to the Bureau of Prisons to commence

her sentence. The defendant is currently set to report on November 18, 2013. The defendant

requests that the new report date be set for some time after November 28, 2013. Counsel has

attached an affidavit filed under sea in support of this Motion.


                                                              Respectfully submitted,

                                                              HAYMAKER & HEROUX, PC


                                                              ___/s G. Kerry Haymaker_____
                                                              G. Kerry Haymaker, B.P.R. #018695
                                                              943 Main Street
                                                              Nashville, Tennessee 37206
                                                              (615) 250-0050


                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing Motion has been delivered by
the Electronic Filing System to BrentHannafan, Assistant United States Attorney, 110 Ninth
Avenue, South, Suite A961, Nashville, TN 37203-3870 on this the 15th day of November, 2013.

                                                      ____/s G. Kerry Haymaker_______
                                                      G. Kerry Haymaker




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